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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                  DEL RIO DIVISION
ABEL CUELLAR LOPEZ, ET AL

vs.                                                  Case No.: 2:24-cv -00046-AM
JUAN MALDONADO, ET AL


                      MOTION FOR ADMISSION PRO HAC VICE
TO THE HONORABLE JUDGE OF SAID COURT:

       comes no*    cw      MATTHEWS                                        applicant herein, and

moves this Court to grant admission to the United States District Court for the Western District of

Texas pro hac vice to represent ABEL CUELLAR LOPEZ, ET          AL                 in this case, and

would respectfully show the Court as follows:


       l.     Applicant is an attorney and a member of the law firm (or practices under the name of)
               MATTHEWS & FORESTER                                       with offices at:

              Mailing address: 3027 MARINA BAy DRIVE, SUITE 320

              City, State, Zip Code: LEAGUE CITY, TX77573

              Telephone: 281-535-3000                       Facsimile: 281-535-3010


       2.     Since lgg3                                       Applicant has been and presently is a

              member of and in good standing with the Bar of the State   of TEXAS
              Applicant's bar license number is   00787980


       a
       J      Applicant has been admitted to practice before the following courts:

              Court:                                        Admission date:
              SOUTHERN DISTRICT OF TEXAS                     1994
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4.     Applicant is presently a member in good standing of the bars of the courts listed above,

       except as provided below (list any court named in the preceding paragraph before which

       Applicant is no longer admitted to practice):
       N/A.




5      r X nave            have not previously applied to Appear Pro Hac Vice in this district

       court in Casefs]:

       Number: 5 :23-cv -00498-XR            on the 25 duy of APRIL                      2024

       Number: 4: 14-cv-00089-RAJ            on the 15 day o1 DECEMBER                   2014

       Number: 1 :02-cv-00010-SS             onthe 28 day o1 FEBRUARY                    2002

6      Applicant has never been subject to grievance proceedings or involuntary removal

       proceedings while a member of the bar of any state or federal court, except as

       provided:

       N/A.




7      Applicant has not been charged, arrested, or convicted of a criminal offense or offenses,

       except as provided below (omit minor traffic offenses):

       N/A.




8      Applicant has read and is familiar with the Local Rules of the Westem District of Texas

       and will comply with the standards of practice set out therein.
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          9       Applicant will file an Application for Admission to Practice before the United States

                  District Court for the Western District of Texas, if so requested; or Applicant has

                  co-counsel in this case who is admitted to practice before the United States District

                  Court for the Western District of Texas.

                  co_counsel. KELLY FORESTER

                 Mailing address: 3027 MARINA BAy DRIVE, SUITE 320

                 City, State, Zip code: LEAGUE CITY, TX77573

                 Telephone: 281-535-3000


          Should the Court grant applicant's motion, Applicant shall tender the amount of $100.00 pro hac

vice fee in,compliance with Local Court Rule ATJ(f)(2) [checks made payable to: Clerk, U.S. District

Courtl.

          Wherefore, Applicant prays that this Court enter an order permitting the admission of

CHAD MATTHEWS                             to the Westem District of Texas pro hac vice for this case only.


                                                        Respectfully submitted,

                                                        CHAD MATTHEWS
                                                        [printed name of Applicant]
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                                                        fsi gnature of App icanif
                                                                          I




                                      CERTIFICATE OF SERVICE

          I hereby certify that I have served a true and correct copy of this motion upon each attorney of

record and the original upon the Clerk of Court on this the    4    day o1 JUNE                     2024



                                                        CHAD MATTHEWS
                                                        [printed name of Applicant]


                                                        [signature of Applicant]
